Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 1 of 18 Page|D 142

IN TI']E l.."NlTEI) S'[`A`E`ES !)ISTREC'I` (`,`OUR'¥`
F()R 'I`HI§ NORT{‘IE.R.N DISTRICT (}F TEXAS
I)ALLAS DlVISI()N

 

;)
viaaaaisio, ;;1":)_, )
l
Plaintif`l`, )

) Casa Na. 3 : § ?»C\/-Z{i()`?~(`l
v. l
)
vai,i-?.RJA ama Ji:-..Wai,a\i', §
l
Dal`emiam_ )
l

(_`:(j`l§'s§ai~i'l' .::;1)<;; M i;N'r ANI) Paal\ial\iam' iN.icN(i*i‘i()N

A(;.»\iNS'i" \i'ALaRl.§ ama .iawis:i_.ia\j

Plaintil`i" Vcrragio, litd. ("\i'crragio"_), and Dcf`cndan£ Valcria Fiae .le\\~‘clry ("`i`)ci"cndam"],

agree to ?hc entry ol` this Coasent ludgment and Pcrman<:nl lnjunczicn against Del`enclam_

Thcrci`orc_, il is hereby ORDI`:`;`RE§D, A.D.FUDGED and DE£CRE[£D as follows;
l, ’E`his case is a civil action arising under the 'i`iadcmai“k and Copyright l...aws i)fthc

l_}ailcd Sta£cs, 15 §J,S.C_ §§ 1051, as ._\~¢>q_ and l'! U.S‘C. §§ lOl_ w .s'cf¢;_, respectivciy. 'l`liis Court
has jurisdiction over ihe claims which relate 10 copyright int`ringemeni pursuant to 15 U.S`C. §

iizi, 17 csc § 501, and zaz)AS_c,§§1331§11<:1333(§}_

2. Vcauc is proper in this Cc)ar!' pul‘:<uanf to 28 {,§.S.C, §§ l_`$‘)l(b} and lrLOO(a).
3. Vcrragia is a Ncw `i"i)rl< corporation with its principle place of hus:`acss ai 330

Fil`ih A\-'eauc` S`l‘ l`-`loorz Ncw Yoi'lc l\l\" lUOOl.
4. Dei`cndaat has its principal place afliusincss al 4834 Vicl\‘sl)ul'g Sl., Dallas, 'l`cxas
752{)7.

S_ Barry Nisgurclsky ("`Nis§,;i\rctsl;y"`§ is the owner oi` Vcri'agiiy

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 2 of 18 Page|D 143

6_ l'~`or over 20 _i,’ears, Nisg_uretsl<y has been an innovator in the design creation and
marketing oi` fine _it‘i.welr,\;'l Nisguretsky designs his own jewelry and has created exclusive
collections l`roni top quality niateriai.

7, Among Nisguretsk§-"s _jewe!ry designs is St_t-'le Nos. TNS 7(}'74[), an original design
comprising copyrightable subject matter under the laws oi`tlte limited States.

8, At all relevant titnes, .Nt`sguretsky complied in all respects with the Co;)yright
Acts, `l? U.S.C. § i{)E, et .\tei;., and secured the exclusive rights and privileges in and to the
copyrights oi" il\lS 7074P (VA i»SUQ»f`)?i) and lNS 7()74\»‘»" {VA l~838~931) {`tlic "Vcrra_i;io
Copyrights"",t. A copy of the Certit`tcates ot` Registration t`rorn the Register of copyrights t`or the
Verragio Cop§»‘rig_ltts, as weil as the deposit copies ol` the Verragio Copyi‘ights, arc attached to
this Consent judgment as Exhihit A.

9 Nisguretsky has exclusively licensed his copyrighted _ie\i-'elry designs to Verragio,
incittditig INS 7974P and iNS 7074\V.

l(). Sincc its creation, lNS 70741’ and ENS ?(l'MW have been manufactured by

Verragio or under its authority

l l. Titc Verrat.;io Copyrights arc \-'aiid, strong and enforceable
12_ finch engagement ring in Verragio`s insignia Co|lection, inciuding INS 707-rip

and lNS 7074W, contains the Verragio Crest. Thc Verragio Crest, as it applies to jewelry
"consists oi` the configuration of a crest in the shape of`a crown with three points featured as a
part oi` a ring design." \/erragio owns a linitecl Statcs trademark registration for the \?'erragio
Crest, Registration No 4,336,434_ A copy ol` the registration certificate for this is attached to
this Consent .ladgment as Exhibit 13.

134 Verragio has marie and continues to make a substantial investment ot"tiine, ef`t`i:)rt1
and expense in the design manufacturing and marketing ot` its jewelry featuring the Verrag_zio

Crcst_

f'~`)

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 3 of 18 Page|D 144

ld. Verrag_io advertises its productsz incinding jewelry that contains the Verragio
C.Trest, in social media incinding Facebooi<, Pénterest, T\vitter:, YouTube? lnstagram, Goog|e+ and

over the World Wide Wel) through its website ct

 

lS. Verragio jewelry bearing the Verragio Crest has been sold to retail stores
throughout the Uriit'od $tates. `l`hese retail stores display and otter i`or sale to the general public
jewelry that contains the Verragio Crest.

lo. Verragio jewelry bearing the Vcrra.gio C’rest has had outstanding commercial
success As a resting jewelers and the public recognize the \/erragio Crcst as designating an
exclusive source thereby creating a goodwill which inures to \»’erragio`s benefit

`l7y 'l`he Verragio t'.`rest is unique and distinctive and, as stich, designates a single
source ot`origin

lS. /l`he Verragio Crest is valid, strong, enforceable and widely known and
recognized among jewelers and consumers throughout the Unit.ed States.

l9. l)ei`endant and l)eiendant`s ol`liccrs, directors einpiovees, representatives agents,
suece:';sors~in-intercstz parent corporations subsidiary corporations iegal entities or persons
controlled by Dei`endant, and ali other persons who are in active concert or participation with
thcni, are hereby permanently enjoined l`romi

a. Copying or making unauthorized use oi`, or engaging in any unauthorized
distribution oi` products protected by thc Vcrragio (§`op_\;rights or rings that arc
stibstantialiy similar to the Verragio Cop_vrights;

b_ C`ojn=ing or making unauthorized osc ot"v or engaging in any unauthorized
distribution of products protected b_v the Vcrragio Crest or rings that are confusingly
similar to the Verragio Copyrights

c_ Scllin.g, distributing advertising manufacturing or purchasing any oi`the

rings pictured in l§jxhibit C or any rings substantiaii_v similar to those rings; and

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 4 of 18 Page|D 145

d. Krrc)wing;|y assi.~;ting, aiding nr abetting any other person or business entity

in engaging in or performing any of the acir`vr`n'r:$ referred 10 in subparagraphs !9(3)
through 19( c) above

20_ ”I`he partre$ waive notice of entry of this Consent Judg;ment and Permanen:

injunction and the right tn appeal therefrom or to rest its validity and consent 10 ns immediate

entry in accordance with its terms Thr`s Courl expressly retains jurisdiction over §hi:s matter 10

cni`orcc._ implement or construe this Cnnsent Judgm€nt and Permancnt ir\‘§uncriorr_

50 (_)RI)EIR}§D_

z__

"'…U£n{éd axes nisnic: .iird§é""

r).A'l“!'~:D: _ 7/"‘~11_/, _2_0!§_

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 5 of 18 Page|D 146

'i`§“rt: individrrats r-:,\:€t:t;tmg this Cnns;@nt .§trdgrn€nt amf t“‘t:rrnane.nt injunction r€t)r'r:t~‘.<':nt itt
Cr_\nt`§`rrn that they are duty authorized to rio ssn and ‘:re sin"\.i§zrri_v nuthnrzzr:n to bind their

respective ctrents to this {_`ons€nt judgment and Permanent §nj motion

CONSEN"§WY;`[) 'E`U:

DA`?ED: rendan ‘-&3 2042 ‘\/‘\"tt§t)n,§tst:r, ?\JE.OSE<L';\-\t-'r`tz_
tidc:hnnn & §_)ztzf\‘€r‘ 1119

 

531“? “` '

::, fr¢nton Hozres `;;J

"t exits State Bar NO 100-§ HSOO
t:`,mait: stratton

Vat€ri C_ Wi‘hanrs

tean Statc-: Bar Nc). 2405879?

Ernai}: ` 7 ' '

Bank of America P}aza

901 Mar`n Streei, Suzte 4800

Da§las, "L`e>;as 75202

(214) 693~80<}0 {Te}ephnne}

(214}698"1101 rr'.wsimne)

Atrorm?y.r_]’r)r Pfar`m‘r`j§" l-'Y;`RRA (_';YO, f_,"/ `D.

m'rrzz;; newman §__, 2013

v

Attc))'n€_tfsjt))‘ Dr§féndam‘ £-“rr/e)'m r'"e`m? .]ew€[ry

Ul

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 6 of 18 Page|D 147

 

 

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 7 of 18 Page|D 148

EXHIBIT A

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 8 of 18 Page|D 149

C“fiez:i“t 511 cntts°n? “1;~1_“"“§`1'§§1)§€£1`5'11

 
 
 

 

finds {§1<1'».1 1“t1: aimed 111'11!€1’1;|1».»“:
1_'§'!""{11»:‘: 1:'1 _ _ _ ._ ‘. :

1131.1§`1§1€(':11§:1§

   
   

 
  

.11`?_`1‘ 11 1'.~*>-151`1'11` ¢1'3113\

".1.`; fhr §§1.1:

 

mails 111;11 z 11 11 1;;1.»1 tara-n 1

i§cnli§§€cl twin-111 '§ §‘1111§111'1:.'1110.11-:)11 1... 1111.51;1‘111;1¢;' ’

1 1 . 1 _ _. . Rr: isiratirm Nurrrher
:)1;\.:11 1113-1111 :1 1'1:~§1_‘§' 1431 tenn 4_.<1;)111'1§§'11 1_?1`£;1_‘1'_' 11“1‘.1_11';_=_;~;. g

1531 1~809~»371_

‘ ` , 1§!1‘11~1:1311'-1:1111!\1 111
/?%M »/J\" (/;£€W\;Q ri;~gis!ru!inn:

I»’.».':Lgi.ati.‘rr 11-§'1`;1111:-}=:1;§|1%1,, L§'rr;lmi 511:1‘11:::1_.1§”_1’11111*1‘1`1:-€1 §"»“E'nr“(:l:t 1331 215le

 

'f"ii:!e

 

1‘1111~. 11111111~11: 1“1~:1§-'1111113
Complet§c-n! Pub§ication

Yn::n‘ nt' firrmp§czinn: 2(1]€§1

 

 

1}:1112 rif 1111 §’uht`c'catinn: §"€`:11’11:~.1“11 51 21111:2 Naiin:a of 151 Pubii¢::ziimi: §_1"1111131.1 §1_1121:1-
Auti‘lur
' Authur: Hari~j Ni§gi:rcts};§

A_nthi)r §Trv.n!ed: j#\'r’rlr_'r' sir;~'i;;§

C§!izrz~m nf: limited Sr.-sn:s Dri-sn§cilseri in; ¥_11111.»;<1‘3 8-|:11111;

 

Copvright claimant

zjioizyrig`h¢ ¢I`."Mimnn{: 1111111~1\21:1§1,1111“:15};3‘

1313 '.--1'1:‘51 313131 :_1‘11'1'¢!, 3§|1 1"111=111 1111‘»'-‘1~’1`.\1%1_-,'!‘5\1", i‘i'}€_"!i 3 l_.` 111_1'¢11 l`t;n<::s

 

Certif§cation
?\`iamrr 35111`1§‘?€11§1111:111:1‘

l`]:§{£“£ ?1‘-]511‘”=.‘:11 EE§‘ 311 § _`-‘

 

Pn;;_g¢ 1111 1

 

 

 

 

 

Case 3:17-cv-02662-G Document 15 Filed 03/01/18

VZ

m,., , -=~ \_, .,~, .» 7 ~\.,
(V..e 1513§11:;11€ viii3{€:§;151:;:-1=1::;1;111

 
   

i..\';

 

f_{'\:'}! .1'1'"`¢_`_§§£!-}".1!mill ¥'¢:“¢
L»:h? 13:'§..-"1£)3'. Lm§::lw. "f"§':c“ 511 113

 

Page 10 of 18 Page|D 151

   
 

]?;ngish'afim\ ?s“umi)er
W\ 13838»931

lich time date of
rc~_g§s£rnli¢m:

M;xmh `_’i‘_i_ l"£}’!§ 3

f 1353

|{1@;11~\1\-1‘1113€."11:)¢;1§’1‘1;;?'1!~.». 1.311§£1:“-.§ ;~i?,:;&¢::~ 133 ;".11“11:.1'11;".3'

 

T§tfe

"f`itic 121-f W¢a'rk:

EN 55 - ?`€`J'.-` -§ W

 

Completiw l Puhiication

Yem' of Cnm;zlctiml~:

D~.a¢€ of 151 I’uhlj€atici'l:

E!_`?§El

f~“¢:‘brz;/:ii“,-»` l1 §U§F_`l Nz:ti{:n e)F Zf§E §’uf;:-'l.i:¢:atjnn:. 1311-nil S-t:szr:z:

 

Aut§'u§r

"' Am!kc;r:

Aulhf:-r €:`re.:t£z?r_"!:

Ci¢izem clf:

|3;:1?1'; 3\3;.»2;;§1.1§5§:§53;;\‘

_jcw.‘eziic 31 ciez.~§ 1511

L?zz:lrri 5111:¢:.5 !.}mnhfj§eel§ fmc |_311§!.1§1;“£?§!:1’£1>::;

 

C-op-Yright claimant

C `Z1;apyr'1.g¥1€ €ilaiu‘imsl:

1

!"5:11":;; Ni§g;az'czsv¢;.<

iii ascer 5=&`§1-1?1 air-reh 801 l`-:o':¢:, nc".v;‘u€k. "\5*1",‘11`.§§!-|5, Uzzi*.c‘d b’é.al:"§

 

Certification
N:a mci

harm

Ham' N:zigu:zf.':sky

?\<121:3‘§‘1 1‘?5 311 § 53

 

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 11 of 18 Page|D 152

 

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 12 of 18 Page|D 153

EXHIBIT B

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 13 of 18 Page|D 154

mth States of Ame

l‘ f
Um'ted States Patent and Trademark Offc'ce tca

 

Reg. No. 4,336,434 VEMmGlO L1‘D. LNEW YORK CORP@RA'HUN}
' _ 13211';€5'? 36'1'1-1$'1'111;1_51', 2111 FLOOR
Reglstered May 14, 2013 N]_‘-:w YORK_NY 101113

Int. Cl.: 14 l~`OR: JI£WI€I .RY M."\l)l_", Ol*` I’|Z}LCIUUS 1\?\11)S|€Ml-|’R]i(`.l(}USG}".MS`I`()N!:§SAN|)M]~TI`A§,S_.
]N CL/\SS14(U.SCT,S.2,27.2SAN1)5()),

'I"RADEMARK FlRS'l' 1151-1 4~1 5~211113; lN C{')MM]-;RCJ: .-1-15-21)112,

SUPPLEMENTAL REG|STER 1115 MARK cfc._)Ns1s'1'S 1)1-' '11-11-; Cc,)Nl-'1Gl11m‘1'101\1 01 11 0111‘51‘ 111 1'1'11'~; $111\1’1€ 01-' A
omsz \\11‘1'11 '1'1»11'11111 1>1,)11~1'1§ zEA'r:,lRH)/\s/\ 1>.»'11§'1‘ 1_)1-1~1 1<1Nn 1_)11:>;11_11\:. '1‘1-11; 131<1_)1<1§,1\1
11le3 SHOWN 1N '1‘11E DRA\\F:NG 11le INTIE.NDED ONLY 10 sH<)w 1‘1-1£ 1>031'1‘10N 011
'1‘1-11-; MARK AND ARE No'r Cl.A§Ml€l) AS 11 1=12/1'1'1_1111_'=; cth '1‘11;€ MAR_K.

 

SHR. N(). 85~497.:$¢12. f"U.,El) P.R. 1246-201 l'.AM` S.R. :`1~!5.2013,

RI§NIEE MC(.`RAK EXAMENING AT'l`OR.NIIY

 

%M/%Dj// §éd

.\dh\g \5\!\'|'|0! of!iw l[n|l?d S|l|r‘.' l’alrll,% mad Tl'ul|n!\lrl; \)mr!

 

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 14 of 18 Page|D 155

 

REQU]REMENTS TO MAINTA[N YOUR FEI)ERAL
TRADEMARK R.EGISTRATION

WARN}NG: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
DOCUMENTS BELOVV DURING THE SPECIFIEB TIME PER.]ODS.

 

 

 

Requirements in tire First 'I`en Ycars*
Wiiat and When to Fi|e:

first Filing Dendline: You insist liie a Deelaration of Use (or Excnsabie Nonnse) between tlte
5111 and oth years after the registration dale live 15 U.S.C. §§1058, 1i4lk. lf the declaration is
accepted the registration will continue in fo rcc for the remainder of tire tert~_\;ear pe riod, calcuiated
from the registration date. unless cancelled by an order of the Comrnissioner for 'i`mdemarks or a
tedera! court

Second Fi`ling Deadh'ne: You must file a Declaration of Use (or Excosai)le Nonnse) and nn
Application for Renewal between the 9111 and ll)tli years after tile regisiration date.’*c
S`ee 15 U_S.C. §11159.

Requir'ements in Successive Ten-Year Pei'iods*
What and Wilen to Fiie:

You must flie a Deelarationot` Use (or Excusablc Noause) and anApplieation for Renewal between
e\\'er'\l 9111 and lt)tll-_\-‘ear period. calculated front tlie registration date.*

Graee Periori Fitings*

'l"lie above documents will be accepted as timely ii filed within six months after the deadlines listed above
with the payment ol` an additional fee.

 

The United States Patent and Tratlemark Oftiee (USPTO) witt N{)T send you any future notice or
reminder of these |i[ing requirements.

 

 

 

*ATTENTI()N MADRII) PROTOCOL REGISTRANTS: T§ic holderofan international registration with
an extension of protection to the United States under the Madrid Protocol most timely file tire Decla.iations
of Use (or Excosable Nonuse) referenced above directi_\ with lite USPTO. T“iie time periods for filing ole
based on the U.S. mgistration date (not tile inlemational registration date)‘ The deadlines and grace periods
for the Deelarations of Use (or Excusabie Nonuse) are identical to those for nationally issued registrations
.`\`ae 15 U_S.C. §§1058, l 1411<. Howeven owners o|” international registrations do not tile renewal applications
at the USPTO lnstead_ the holder nntst tile a renewal of tire underlying international registration at the
littemntional Bureau of the World intellectual Propeity Orgnnization. under Anieie 7 of the Mnclrid Protocol.
before the expiration of each ten-year tenn ot' protection caleaiated front the daie of the intcmationai
registration .S`ee 15 U.S.C. §§ l-Sij. For more infonnation and renewal forms fortlte intemational registration
see http://'w\\:w.wipo,int/madridfen/.

N{)TE: Fees and requirements t'or maintaining registrations are subject to change Please check the
USPTO website for timber information With the exception of renewal zip;)tieations for registered
extensions ot` protectioii, you can tile the registration maintenance documents referenced above online
at littp://w\i=\\'.tispto.go\'.

Page: 2 f RN # -1_33(>_434

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 15 of 18 Page|D 156

EXHIBIT C

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 16 of 18 Page|D 157

 

'M`\_“` ftC{;!Ci-i.!B-éi

iji£'\.t!;¢zttit 1024

lNFt`}le€i’ri ia_`??§?l‘*§

 

i;,-,
. §

§

th

\.-.

." U;

§ 12

:: .,@;

'T` 3“"

t: 35

§

=» w

:e/ _i tm t
.~`1\ :-/`:

 

   

V[I`=,hr;.l_'_\;tjd sw‘;t»\e|-j-§__t_l s_‘ i_i\lt{i.'-A §ttr-,t;;-.i;ii~f'i.t£i lt tried

 

 

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 17 of 18 Page|D 158

 

Case 3:17-cv-02662-G Document 15 Filed 03/01/18 Page 18 of 18 Page|D 159

 

